           Case 3:20-cr-00249-RS    Document 675-11     Filed 06/06/25    Page 1 of 28
NAC Foundation, LLC
                                                                             INVOICE
                                                                                              INV-2920



                                                                         Date:      Jan 8, 2018
Bill To:
                                                              Payment Terms:        NET 10
Sam Eljaouhari
                                                                     Due Date:      Jan 18, 2018

                                                               Balance Due:         $0




Item                                                      Quantity        Rate                Amount

AML Token Sale deposit to account samsplans@yahoo.com     1               $ 7,500             $ 7,500




                                                                         Total:     $ 7,500

                                                                 Amount Paid:       $ 7,500




                                                                                  EX3142-001
           Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 2 of 28

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Please add the amount of the wire charge (international or domestic) to the total amount of your payment.

Please allow approximately five (5) days after your wire is sent for your token account to be credited.



CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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Inc., A Professional Corporation (“DSA, APC”), pursuant to rules of the State Bar of Nevada. DSA, APC acts as
counsel to NAC Foundation, LLC as to certain legal matters. DSA, APC has no relationship or affiliation of any kind
with ICOBox or any party, connected with the ICO, other than NAC Foundation, LLC

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confirmation to




                                                                                                 EX3142-002
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 3 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                           INV-3016



                                                                       Date:    Jan 9, 2018
Bill To:
                                                            Payment Terms:      NET 10
Chung Kwong Yuew
                                                                   Due Date:    Jan 19, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate               Amount

AML Token Sale deposit to account                       1               $ 10,000           $ 10,000




                                                                       Total:   $ 10,000

                                                               Amount Paid:     $ 10,000




                                                                                EX3142-003
           Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 4 of 28

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3142-004
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 5 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                         INV-3067



                                                                       Date:    Jan 9, 2018
Bill To:
                                                            Payment Terms:      NET 10
Pradeep Singhal
                                                                   Due Date:    Jan 19, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 125,000        $ 125,000




                                                                       Total:   $ 125,000

                                                               Amount Paid:     $ 125,000




                                                                                EX3142-005
           Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 6 of 28

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3142-006
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 7 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                           INV-3209



                                                                       Date:    Jan 11, 2018
Bill To:
                                                            Payment Terms:      NET 10
Stephen Jed
                                                                   Due Date:    Jan 21, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate               Amount

AML Token Sale deposit to account                       1               $ 43,750           $ 43,750




                                                                       Total:   $ 43,750

                                                               Amount Paid:     $ 43,750




                                                                                EX3142-007
           Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 8 of 28

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3142-008
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 9 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                           INV-3304



                                                                       Date:    Jan 12, 2018
Bill To:
                                                            Payment Terms:      NET 10
Isabel Munoz
                                                                   Due Date:    Jan 22, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate               Amount

AML Token Sale deposit to account                       1               $ 35,000           $ 35,000




                                                                       Total:   $ 35,000

                                                               Amount Paid:     $ 35,000




                                                                                EX3142-009
          Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 10 of 28

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3142-010
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 11 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                           INV-3359



                                                                        Date:   Jan 13, 2018
Bill To:
                                                             Payment Terms:     NET 10
Shane Alfonso
                                                                    Due Date:   Jan 23, 2018

                                                              Balance Due:      $0




Item                                                     Quantity        Rate              Amount

AML Token Sale deposit to account                        1               $ 15,000          $ 15,000




                                                                       Total:   $ 15,000

                                                                Amount Paid:    $ 15,000




                                                                                EX3142-011
          Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 12 of 28

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3142-012
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 13 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                           INV-3373



                                                                        Date:   Jan 13, 2018
Bill To:
                                                             Payment Terms:     NET 10
Isabel Munoz
                                                                    Due Date:   Jan 23, 2018

                                                              Balance Due:      $0




Item                                                     Quantity        Rate              Amount

AML Token Sale deposit to account                        1               $ 35,000          $ 35,000




                                                                       Total:   $ 35,000

                                                                Amount Paid:    $ 35,000




                                                                                EX3142-013
          Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 14 of 28

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3142-014
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 15 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                           INV-3492



                                                                        Date:   Jan 14, 2018
Bill To:
                                                             Payment Terms:     NET 10
Meshari Salah Alkulaib
                                                                    Due Date:   Jan 24, 2018

                                                              Balance Due:      $0




Item                                                     Quantity        Rate              Amount

AML Token Sale deposit to account                        1               $ 30,000          $ 30,000




                                                                       Total:   $ 30,000

                                                                Amount Paid:    $ 30,000




                                                                                EX3142-015
          Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 16 of 28

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3142-016
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 17 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                           INV-3572



                                                                        Date:   Jan 15, 2018
Bill To:
                                                             Payment Terms:     NET 10
Aziz Denian
                                                                    Due Date:   Jan 25, 2018

                                                              Balance Due:      $0




Item                                                     Quantity        Rate              Amount

AML Token Sale deposit to account                        1               $ 12,500          $ 12,500




                                                                       Total:   $ 12,500

                                                                Amount Paid:    $ 12,500




                                                                                EX3142-017
          Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 18 of 28

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3142-018
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 19 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                           INV-3573



                                                                        Date:   Jan 15, 2018
Bill To:
                                                             Payment Terms:     NET 10
Abdullah Aldulaigan
                                                                    Due Date:   Jan 25, 2018

                                                              Balance Due:      $0




Item                                                     Quantity        Rate              Amount

AML Token Sale deposit to account                        1               $ 25,700          $ 25,700




                                                                       Total:   $ 25,700

                                                                Amount Paid:    $ 25,700




                                                                                EX3142-019
Case 3:20-cr-00249-RS   Document 675-11   Filed 06/06/25   Page 20 of 28
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 21 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                           INV-3617



                                                                        Date:   Jan 15, 2018
Bill To:
                                                             Payment Terms:     NET 10
TARIK KERBOUCI
                                                                    Due Date:   Jan 25, 2018

                                                              Balance Due:      $0




Item                                                     Quantity        Rate              Amount

AML Token Sale deposit to account                        1               $ 15,017          $ 15,017




                                                                       Total:   $ 15,017

                                                                Amount Paid:    $ 15,017




                                                                                EX3142-021
          Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 22 of 28

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3142-022
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 23 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                           INV-3675



                                                                        Date:   Jan 15, 2018
Bill To:
                                                             Payment Terms:     NET 10
Isabel Munoz
                                                                    Due Date:   Jan 25, 2018

                                                              Balance Due:      $0




Item                                                     Quantity        Rate              Amount

AML Token Sale deposit to account                        1               $ 17,500          $ 17,500




                                                                       Total:   $ 17,500

                                                                Amount Paid:    $ 17,500




                                                                                EX3142-023
          Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 24 of 28

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3142-024
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 25 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                           INV-3751



                                                                        Date:   Jan 16, 2018
Bill To:
                                                             Payment Terms:     NET 10
Dounia Alaoui
                                                                    Due Date:   Jan 26, 2018

                                                              Balance Due:      $0




Item                                                     Quantity        Rate              Amount

AML Token Sale deposit to account                        1               $ 20,017          $ 20,017




                                                                       Total:   $ 20,017

                                                                Amount Paid:    $ 20,017




                                                                                EX3142-025
          Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 26 of 28

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3142-026
           Case 3:20-cr-00249-RS    Document 675-11   Filed 06/06/25    Page 27 of 28
NAC Foundation, LLC
                                                                           INVOICE
                                                                                             INV-3869



                                                                        Date:      Jan 17, 2018
Bill To:
                                                             Payment Terms:        NET 10
Rashmikant Ghevariya
                                                                    Due Date:      Jan 27, 2018

                                                              Balance Due:         $0




Item                                                     Quantity        Rate                Amount

AML Token Sale deposit to account                        1               $ 7,500             $ 7,500




                                                                       Total:      $ 7,500

                                                                Amount Paid:       $ 7,500




                                                                                EX3142-027
          Case 3:20-cr-00249-RS            Document 675-11           Filed 06/06/25       Page 28 of 28

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ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3142-028
